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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 ROI DEVELOPERS, INC.                            §
                                                 §
      Plaintiff,                                 §
                                                 §
 v.                                              §    Civil Action No. 4:22-CV-00073-O
                                                 §
 ATHENA BITCOIN, INC.                            §
                                                 §
      Defendant.                                 §

                                             ORDER

         Before the Court is the parties’ Notice of Settlement in Principle (ECF No. 30), filed

December 22, 2022. The Notice indicates the parties have reached a settlement agreement in

principle and intend to formalize their agreement and file dismissal papers shortly. As such, the

Court ORDERS the parties to file the appropriate settlement papers—a stipulation of dismissal

under FED. R. CIV. P. 41(a)(1)(A)(ii) or an agreed motion with corresponding proposed order under

FED. R. CIV. P. 41(a)(2)—no later than February 28, 2023.

         The parties’ current trial setting date of January 16, 2023 will be removed from the

Court’s four-week trial calendar until appropriate settlement papers are filed on the docket. All

other case-specific deadlines are stayed pending receipt of the requisite papers. If the parties are

unable to file the appropriate settlement papers by the assigned date, or if further proceedings

become necessary, the parties shall immediately file a Joint Status Report with the Court, but not

later than February 28, 2023.

         SO ORDERED on this 23rd day of December, 2022.



                                                     _____________________________________
                                                     Reed O’Connor
                                                     UNITED STATES DISTRICT JUDGE
